     Case: 21-15295, 04/27/2024, ID: 12880797, DktEntry: 203, Page 1 of 3




                   No. 21-15295
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  In the United States Court of Appeals for the Ninth Circuit
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               APACHE STRONGHOLD,
                 PLAINTIFF-APPELLANT,
                          V.
          UNITED STATES OF AMERICA, ET AL.,
                DEFENDANTS-APPELLEES,
                                    AND
            RESOLUTION COPPER MINING, LLC,
               INTERVENOR-DEFENDANT-APPELLEE.
───────────────────────────────────────────────
         On Appeal from the United States District Court
                    for the District of Arizona
     Case No. 2:21-cv-00050-PHX-SPL (Hon. Steven P. Logan)
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   CONSENT BRIEF OF AMICI CURIAE THE MENNONITE
  CHURCH USA, THE PACIFIC SOUTHWEST MENNONITE
    CONFERENCE, AND 19 ADDITIONAL MENNONITE
          ORGANIZATIONSi TO FILE LATE BRIEF
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                                 ERIC N. KNIFFIN
                                 ETHICS & PUBLIC POLICY CENTER
                                 1730 M Street, N.W.
                                  Suite 910
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                        Counsel for Amici Curiae
       Case: 21-15295, 04/27/2024, ID: 12880797, DktEntry: 203, Page 2 of 3




             CONSENT MOTION FOR LEAVE TO FILE
                    LATE AMICUS BRIEF
     The Mennonite Church USA, the Pacific Southwest Mennonite

Conference, and 19 additional Mennonite organizations (collectively,

amici) move the Court for leave to file an amicus brief out of time. In

support of this motion, amici state:

     1.    Plaintiff-Appellant Apache Stronghold filed a petition for

rehearing en banc in this matter on April 15, 2024; as such, under

Ninth Circuit Rule 29-2(e)(1) the deadline for filing amicus brief in

support of Apache Stronghold’s petition was April 25, 2024.

     2.    Amici filed its brief in support of Apache Stronghold’s

petition on April 26, 2024 at 12:01 a.m. Dkt. 197.

     3.    All parties have consented to this motion.

     4.    A copy of amici’s brief is attached to this motion.

                                    Respectfully submitted,

                                    s/ Eric N. Kniffin
                                    ERIC N. KNIFFIN
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  April 27, 2024                    Counsel for Amici Curiae




                                        1
      Case: 21-15295, 04/27/2024, ID: 12880797, DktEntry: 203, Page 3 of 3




                     CERTIFICATE OF SERVICE

     I hereby certify that the foregoing document was filed with the

Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit by using the appellate CM/ECF system on April 27, 2024. I

further certify that service was accomplished on all parties via the

Court’s CM/ECF system.

     Dated: April 27, 2024

                                    s/ Eric N. Kniffin
                                    Eric N. Kniffin




i Additional amici are: Allegheny Mennonite Conference; Albuquerque

Mennonite Church, Albuquerque, NM; Belmont Mennonite Church,
Elkhart, IN; Boulder Mennonite Church, Boulder, CO; Columbus
Mennonite Church, Columbus, OH; Eighth Street Mennonite Church,
Goshen, IN; Faith Mennonite Church, Minneapolis, MN; First
Mennonite Church, San Francisco, CA; Germantown Mennonite
Church, Philadelphia, PA; Hyde Park Mennonite Fellowship, Boise, ID;
Just Peace Council, Seattle Mennonite Church, Seattle, WA; Mennonite
Church of the Servant, Wichita, KS; Mennonite Men, Newton, KS;
Mennonite Mission Network, Newton, KS; Peace Mennonite Church,
Lawrence, KS; Portland Mennonite Church, Portland, OR; Sojourn
Mennonite Church, Fort Collins, CO; Walnut Hill Mennonite Church,
Goshen, IN; and Waterford Mennonite Church, Goshen, IN.




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